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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:16-CR-1 GEB

12                               Plaintiff,            [PROPOSED] ORDER

13                         v.

14   ZALATHIEL AGUILA,

15                              Defendant.

16

17                                                 ORDER

18                 As part of its plea agreement with the defendant in Case No. 2:16-cr-46 GEB, the

19 government moved on July 26, 2019, for the dismissal of the remaining counts against this defendant in

20 Case No. 2:16-cr-46 GEB and in Case No. 2:16-cr-1 GEB. Accordingly, IT IS HEREBY ORDERED

21 that the pending criminal Information in case number 2:16-CR-1 GEB against defendant Zalathiel

22 AGUILA is hereby DISMISSED pursuant to Federal Rule of Criminal Procedure 48(a), with prejudice.

23 This Order does not apply to any other named co-defendant(s) charged in the same Information.

24 Dated: August 14, 2019

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